     Case 4:10-cr-00159-LGW-CLR Document 491 Filed 04/25/11 Page 1 of 1




UNITED STATES DISTRICT COURT                   This 25th day of April 2011.
SOUTHERN DISTRICT OF GEORGIA
     SAVANNAH DIVISION

UNITED STATES OF AMERICA                        BAVANTPDENFIELØ,JUIJGE
                                                UNifED STATES DISTRICT COURT
v.                    4:10-cr-159               SOUTHERN DISTRICT OF GEORGIA

JERMAINE TANDY & VINCENT
ROBINSON, et al.

                 ORDER
   The Magistrate Judge entered a joint
Report and Recommendation (“R&R”)
denying Vincent Robinson’s (“Robinson”)
and Jermaine Tandy’s (“Tandy”) motions to
suppress. See Docs. 212 (Robinson), 220
(Tandy), 461 (R&R).
    After a careful de novo review of the
record in this case, the Court concurs with
the Magistrate Judge’s R&R, see Doc. 461,
to which Tandy filed objections.
    Since the Magistrate Judge entered his
R&R, Robinson pled guilty. See 4:11-cr-
144, Doc. 6. Robinson’s plea MOOTS his
motion to suppress, see Doc. 212. See
United States v. Evans, 2006 WL 2221629,
at *2 n.3 (M.D. Fla. Aug. 2, 2006). The
Court REJECTS AS MOOT that portion of
the Magistrate Judge’s R&R which refers to
Robinson’s motion. See Doc. 461.
    Accordingly, the R&R is adopted as the
opinion of the Court with respect to Tandy’s
motion to suppress, but rejected as to
Robinson’s motion. Tandy’s motion, see
Doc. 220, is DENIED. Robinson’s motion,
see Doc. 212, is MOOT.
